                      Case 1:18-cr-00352-MLB-RGV Document 43 Filed 09/06/18 Page 1 of 4

AO 199A (Rev. 12111) Order Setting Conditions of Release                                                        Page 1 of     3
                                                                                                                            _____   Pages



                                                 UNITED STATES DISTRICT COURT
                                                                     for the

                                                           Northern District of Georgia



                 UNITED STATES OF AMERICA                               )
                                        V.                              )
                                                                        )
                                                                                        Case No.: 1:18-CR-352
                      MOMEH SOZAB MOMIN                                 )
                                     Defendant                          )


                                                 ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDEIIBD that the defendant's release is subject to these conditions:


(1)    The defendant must not violate federal, state, or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S. C. § I 4 J 35a.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making any
       change of residence or telephone number.


(4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that the
       court may impose.

       The defendant must appear at:                 ------------------



                                                                                            Place



       on    -   ------------   -   ------------- -----    --------- ------- ---



                                                                        Date and Time

       If blank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, ifordered
                                   Case 1:18-cr-00352-MLB-RGV Document 43 Filed 09/06/18 Page 2 of 4
AO f.998       (Rev.. 12111) Additional Conditions of Release                                                                                                Page _J_ of __l__ Pages

                                                                       ADDITIONAL CONDITIONS OF RELEASE

         IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(    )       (6)
              The defendant is placed in the custody of
              Person or organization                    ______               ___      _
                                                                                       _ _____                                                                        _ ___ _______           __




              Address (only ifab ove is an organization)                                                      __ ________                                                       __ __
                                                                                                                                                                                      _
                                                                                                                                                                                       ____ _ _




              City and state             ____ __
                                                    _
                                                        ___
                                                              _                                 ______________
                                                                                                                        Tel. No.                                        _
                                                                                                                                                                  ___ ___ _____ _




who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) noti.JY the court immediately ifthe
defendant violates a condition of release or is no longer in the custodian's custody.

                                                                                                    Signed:
                                                                                                                             Custodian                                          Date
( X)         (7)       The defendant must:
         ( X )         (a) submit to supervision by and report for supervision to the      () US. Pretrial Services ( ) US. Probation Office
                            telephone number        j04-2 l 5-1900/J 950_,          ()No later than                ______         �
                                                                                                                          efore leaving courthouse, _(JI"_                __________




         ( x)          (b) continue or actively seek employment.
         (  )          (c) continue or start an education program.
                                                                                             ,L
         ( x)          (d) surrender any passport to:     your supervising officer by                  CJ.,�//��
                                                                                                   and do not obtain nor possess a passport or other international
                            travel document, not obtain or possess a passport or other international travel document in your name, another name or on behalfof a third
                            party, including minor children.
         (         )   (e)    ;�;;:::r;;;:;;;:
                                           ::;; :::;_ '.lJ:i/t:;::L:r:f::S.
                                                                       na       c                                   vPJ      __

                                                                                                                                 P__L_!_
                                                                                                                                  _
                                                                                                                                   _     /1-C_�M�rr_-�/e:SS
         ( X ) (j) avoid all contactfdirectly qr i'}J/irectly, with any person who is or may                        a victin; or witness in the investigation or prosecution,
                   including:                ��d��                        G'IC�                                         tfr  -  ---             ---------------·                              -




                              -- ------ ----
                                                  _
                                                   ,._            -- --  -   -   -------- -----------
                                                                                            -                      -   --------- ------
         (         ) (g) get medical or psychiatric treatment:                         () as directed by your supervising officers                ()
                              --   -
                                           -
                               --- ----- ---- - ---      -



         (     ) (h) maintain residence at a halfivay house or community corrections center, as the pretrial services office or supervising officer considers
                     necessary.
         (   x ) m not possess a firearm, destructive device, other weapon, or ammunition, in your home, vehicle or place of employment, or upon your
                     person.
         (   X ) OJ not use alcohol (           ) at all ( X. ) excessively.
         (   X) (k) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 USC. § 802, unless lawfally prescribed by a medical
                     licensed medical practitioner.
         (     ) (I) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
                     frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance
                     screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited substance
                     screening or testing.
         (     ) (m) participate in a program of inpatient or outpatient substance abuse therapy and counseling ifdirected by the pretrial services office or supervising
                     officer.
         (     ) (n) participate in one of the following location restriction programs and comply with its requirements as directed.
                     (     ) (i) Curfew. You are restricted to your residence every day (               )from                      to_
                                                                                                                                         _______    , or (_______) as
                                   directed by the pretrial services office or supervising officer; or
                     (     ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                                   substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities approved
                                   in advance by the pretrial services office or supervising officer; or
                     (     ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and court
                                   appearances or other activities specifically approved by the court.
         (     ) (o) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                     requirements and instructions provided.
                     (     ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                             supervising officer.
         ( x) (p) report within   72 hours to the pretrial services of
                                                                     f ice or supervising officer, every contact with law enforcement personnel, including arrests,
                  questioning, or traffic stops.
         ( x) (p) restrict travel to the Northern District of Georgia unless the supervising officer has approved travel in advance.
         (  ) (r)
         (         ) (s)      -    ---   -     -----         - -
                                                              · - -- - -----�-    ----          -
                                                                                            -· ·-   ---   ----




                   )   (t )   --   --    --------       ---------                  - --   -- ------                -   --------------·------------------
                   Case 1:18-cr-00352-MLB-RGV Document 43 Filed 09/06/18 Page 3 of 4
,�019<,lC.    (Rev.12103) Advice ofPenalties ...                                                                     Page     3       of        3     Pages


                                                      Advice of Penalties and Sanctions

TO THE DEFENDANT

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

        Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in a term of
imprisonment, afine, or both.
        While on release, if you commit a federal felony offense, the punishment is an additional prison term of not more than ten
years; if you commit a federal misdemeanor offense, the punishment is an additional prison term of not more than one year. This sentence will
be consecutive (i.e., in addition to) any other sentence you receive.
        It is a crime punishable by up to ten years of imprisonment and a $250,000fine or both to: obstruct a criminal
investigation; tamper with a witness, victim or informant; or intimidate or attempt to intimidate a witness, victim, juror, ieformant, or officer
of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
        Ifafter release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed Ifyou are convicted of
        (I) an offense punishable by death, life imprisonment, or imprisonment for a term offzfleen years or more, you shall befined
              not more than $250,000 or imprisoned for not more than JO years, or both;
        (2) an offense punishable by imprisonment for a term of five years or more, but less thanfifteen years, you shall befined not
              more than $250,000 or imprisoned for not more thanfive years, or both;
        (3) any other felony, you shall befined not more than $250,000 or imprisoned not more than two years, or both;
        (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
        A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the foifeiture of any bond posted

                                                       Acknowledgment of Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.


                                                                                        �-
                                                                                         '              0---




                                                                                                                    Address

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                                                                                                                   G:iA            <-io"i   .   5t�   -   q l" 6
                                                                                       City and State                                 Telephone


                                         Directions to United States Marshal
   /
( UThe defendant is ORDERED released after processing.
(    ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk orjudge that the defendant has posted
       bond and/or complied with all other conditions for release. Ifstill in custody, the defendant must be produced before the appropriate
       judge at the time and place specified.

Date:    l)::; (J. i: � l        �O l '8"'
               I                                                                                                        dicial Officer


                                                                                                 Name and Title of Judicial Officer

                         DJSTRJBUTJON:       COURT   DEFENDANT       PRETRIAL SERVICE        U.S. ATTORNEY          U.S. MARSHAL
Case 1:18-cr-00352-MLB-RGV Document 43 Filed 09/06/18 Page 4 of 4
